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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                           CAMDEN VICINAGE

                                                   MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN,
  AND IRBESARTAN PRODUCTS                          Honorable Robert B. Kugler,
  LIABILITY LITIGATION                             District Court Judge


  This Document Relates to All Actions



    JOINT MOTION FOR MODIFICATION OF CASE MANAGEMENT
                       ORDER NO. 23
       Plaintiffs and Defendants (collectively “the Parties”) jointly move the Court

 for a brief extension of the remaining deadlines in the operative Scheduling Order

 (Case Management Order No. 23 Revised) (ECF No. 1679) to complete the

 depositions of Defendants’ class certification experts; the Parties’ class certification

 briefing; and briefing related to any Daubert motions regarding class certification

 experts.

       The operative Scheduling Order contains the following deadlines applicable

 to the present motion:

            • March 10, 2022 - Deadline to complete depositions of defendants’ class
              certification experts.

            • March 22, 2022 - Deadline for defendants to file responses to class
              certification motions.

            • April 12, 2022 - Deadline to file Daubert motions regarding class
              certification experts.
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          • April 19, 2022 - Deadline for plaintiffs to file replies to responses to
            class certification motions.

          • May 11, 2022 - Deadline to file responses to Daubert motions regarding
            class certification experts.

          • May 25, 2022 - Deadline to file replies to responses to Daubert motions
            regarding class certification experts.
       There is good cause to revise the schedule by extending the foregoing briefing

 deadlines by two weeks. The primary reason for the extension is to accommodate

 the recently-scheduled Daubert hearings as to the Parties’ general causation experts,

 which was not previously included in the Scheduling Order. The Court has set the

 Daubert hearings for March 2, 3, 14, and 15, with declarations for all expert

 witnesses to be presented at those hearings to be produced by February 24, 2022. A

 short, two-week extension of the class certification briefing deadlines will provide

 the additional time necessary for the parties to fully and adequately brief the

 important class certification issues in light of the Daubert hearings. Additionally,

 the scheduling of the Daubert hearings has necessitated moving multiple scheduled

 depositions of defendants’ class certification experts, including rescheduling

 depositions after the current deadline of March 10, 2022. A two-week extension

 will account for these scheduling changes.

       The proposed extension will not prejudice the Parties or these proceedings.

 The two-week extension is short and will not disrupt any scheduled trial or other

 proceedings in connection with this matter. The Court previously granted an
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 extension of one week to Plaintiffs to file their class certification motions (see ECF

 No. 1679). The Parties have conferred and agree to the proposed revised schedule

 enumerated in the Proposed Order filed herewith.

       WHEREFORE, for the foregoing reasons, the Parties respectfully request that

 Case Management Order No. 23 be revised as reflected in the attached Proposed

 Order.

 Dated: February 22, 2022

  /s/ Adam M. Slater                        /s/ Seth A. Goldberg
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                                 CERTIFICATE OF SERVICE

 The undersigned attorney certifies that on February 22, 2022, she served the foregoing Joint

 Motion for Modification of Case Management Order No. 23 electronically through the court’s

 CM/ECF system, which will automatically send notification to all parties who have appeared

 and are registered on the CM/ECF system.


                                             By: /s/ Coleen W. Hill
